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          IN THE UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF NEW JERSEY
______________________________________________
                                                  )
IN RE: JOHNSON & JOHNSON                          )
TALCUM POWDER PRODUCTS                            )
MARKETING, SALES PRACTICES AND                    ) MDL Docket
PRODUCTS LIABILITY LITIGATION                     ) No. 2738
______________________________________________ )
                                                  )
This Document Relates To:                         )
                                                  )
Bondurant v. Johnson & Johnson, No. 3:19-cv-14366 )
Converse v. Johnson & Johnson, No. 3:18-cv-17586  )
Gallardo v. Johnson & Johnson, No. 3:18-cv-10840  )
Judkins v. Johnson & Johnson, No. 3:19-cv-12430   )
Newsome v. Johnson & Johnson, No. 3:18-cv-17146   )
Rausa v. Johnson & Johnson, No. 3:20-cv-02947     )
______________________________________________ )
 DEFENDANTS’ REPLY TO PLAINTIFFS’ RESPONSIVE STATEMENT
 OF MATERIAL FACTS IN OPPOSITION TO DEFENDANTS’ MOTION
                FOR SUMMARY JUDGMENT

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         Defendants Johnson & Johnson and LLT Management, LLC (n/k/a Red

River Talc LLC) (collectively, “Defendants”)1 submit this reply to the Plaintiffs’

Steering Committee’s Responsive Statement of Material Facts in Opposition to

Defendants’ Motion for Summary Judgment (ECF 33294.)

    A.        Linda Bondurant

         1.     Undisputed.

         2.     Undisputed.

         3.     Defs.’ Reply: As stated in Defendants’ Statement of Uncontested

Material Facts (ECF 33144) and as explained in Defendants’ Memorandum of Law

in Support of Motion to Exclude Plaintiffs’ Experts’ General Causation Opinions

(ECF 33008-2), the overwhelming majority of epidemiologic studies that have

reported on relative risks for clear cell carcinoma have reported no increased risk.

The only study that shows otherwise, Terry, Genital Powder Use and Risk of

Ovarian Cancer: A Pooled Analysis of 8,525 Cases and 9,859 Controls, 6(8)

Cancer Prev. Res. 811, 816-17 (2013) (Opp’n Ex. 15), had its findings on clear cell

carcinoma nullified by later data in Cramer, The Association Between Talc Use and


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      Due to a corporate restructuring, any talc liabilities formerly held by
Johnson & Johnson Consumer Inc. were transferred to LTL Management LLC,
which was subsequently known as LLT Management, LLC. Following a second
and separate restructuring, talc liabilities for ovarian cancer and gynecological
cancers are now held by Red River Talc LLC. Additional information concerning
Red River can be found at https://dm.epiq11.com/case/redrivertalc/info.

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Ovarian Cancer: A Retrospective Case-Control Study in Two US States, 27(3)

Epidemiology 334, 341 (2016) (Ex. 6 to Decl. of Jessica Davidson (“Davidson

Decl.”)).

       4.    Defs.’ Reply: The study at issue explicitly reports that “[t]he risk of

ovarian cancer was highest among women with ovarian endometriosis and

especially for . . . clear cell (10.1 [5.50-16.9]) ovarian cancer.” Saavalainen, Risk

of Gynecologic Cancer According to the Type of Endometriosis, 131(6) Obstet. &

Gynecol. 1095, 1095 (2018) (Mot. Ex. 20). This indicates that the study reported

that endometriosis on its own is associated with up to, if not greater than, a 900%

increased risk of clear cell carcinoma of the ovary.

       5.    Undisputed.

       6.    Undisputed.

       7.    Defs.’ Reply: This is not impermissible legal argument, but rather a

factual statement based on Dr. Wolf’s undisputed testimony. Dr. Wolf testified that

only                    exposure to talcum powder was relevant in terms of causing

Ms. Bondurant’s         : “That’s when [Ms. Bondurant’s] tract would be open and

the talcum powder                                           .” (Dep. of Judith Wolf

(“9/14/21 Wolf Dep.”) 633:15-634:7, Sept. 14, 2021 (Opp’n Ex. 81); id. 573:2-4

(“I believe that the important part of her use was prior to her                 .”).)




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        8.      Defs.’ Reply: This is not impermissible legal argument, but rather a

factual statement based on Dr. Wolf’s explicit and undisputed testimony. Dr. Wolf

repeatedly stated that the typical latency period for ovarian cancer is 15 to 20

years. (See 9/14/21 Wolf Dep. 571:2-6 (“[T]he latency period [for] ovarian cancer

can be anywhere from 15 to 20 years; is that right? A. Yes.”); 572:1-4 (“Q. The

latency period you believe is 15 to 20 years? A. For ovarian cancer, and for most

cancers.”).)

        9.      Defs.’ Reply: Plaintiffs concede that “Ms. Bondurant has not

identified any particular representation to which she was exposed regarding the

products at issue in this litigation.” Although plaintiffs provide “clarification” that

the reason there is no evidence of any exposure to or reliance on talc marketing is

because Ms. Bondurant “passed away,” that is beside the point, as set forth in

defendants’ reply brief.

   B.         Hilary Converse

        10.     Defs.’ Reply: According to her own PPF, Hilary Converse’s date of

birth is                    , making her 82 years old, as defendants stated in their

Statement of Uncontested Material Facts. (See H. Converse PPF at 2 (Mot. Ex.

31).)

        11.     Undisputed.




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      12.      Defs.’ Reply: Dr. Peter Schwartz, Ms. Converse’s treating physician,

explicitly stated that Ms. Converse’s “         arose in an

background.” (Dep. of Peter Schwartz 31:19-32:4, Jan. 28, 2021 (Mot. Ex. 32).)

Dr. Clarke-Pearson agreed that Dr. Schwartz testified to that belief under oath.

(Dep. of Daniel L. Clarke-Pearson (“8/26/21 Clarke-Pearson Dep.”) 366:13-22,

Aug. 26, 2021 (Ex. 7).) Although Dr. Clarke-Pearson testified that Ms. Converse

did not have                 , he did not “look” at Ms. Converse’s pathology,

precluding plaintiffs from creating a genuine dispute of fact on this point. (Id.

366:25-367:11.)

      13.      Defs.’ Reply: Plaintiffs do not dispute that Dr. Clarke-Pearson

considered Ms. Converse’s                                      as a cause of her

      ; nor could they, as he explicitly described it as a cause. (See Dep. of Daniel

L. Clarke-Pearson (“8/27/21 Clarke-Pearson Dep.”) 460:13-16, Aug. 27, 2021

(Mot. Ex. 18) (“Q. You identified a                                    as a cause of her

                , correct? A. Yes.”); 470:20-22 (“Q. You would agree

                  is a cause? A. I think it’s a possible cause.”).)

      14.      Defs.’ Reply: Ms. Converse’s medical records undisputably reflect

that Ms. Converse “took

for approximately 10 years until 2007.”

(CONVERSE_HILARY_YALENEWHAVENHOSPITAL_00346 (Ex. 8).) Dr.



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Clarke-Pearson’s uncited assertion that she only took                             for six

years does not raise a genuine dispute as to this medical fact.

        15.     Defs.’ Reply: Plaintiffs’ response confirms that Ms. Converse could

not identify any particular representations to which she was allegedly exposed

regarding defendants’ products. She testified only generally that she “just felt very

comfortable with it” and otherwise stated that she trusted the brand “[p]robably --

possibly because of the commercials. I don’t know. I just -- I just trusted it, and I

liked the product.” (Dep. of Hilary Converse 180:21-181:4, Dec. 1, 2020 (Opp’n

Ex. 33) (emphasis added).)

   C.         Anna Gallardo

        16.     Undisputed.

        17.     Defs.’ Reply: Undisputed. Defendants agree Ms. Gallardo was

diagnosed with                              on July 25, 2013.

(GALLARDO_ANNA_BJH_00005-00006 (Mot. Ex. 34).)

        18.     Defs.’ Reply: Plaintiffs do not dispute that Ms. Gallardo did not use

talc during the 25 years preceding her                    . Although plaintiffs

contend that this fact is “consistent” with Dr. Wolf’s opinions, it cannot be squared

with Dr. Wolf’s unequivocal testimony that the latency period for cancer is 15-20

years. (See 9/14/21 Wolf Dep. 571:2-6.)




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        19.     Defs.’ Reply: Plaintiffs do not dispute that Ms. Gallardo underwent

                      Dr. Wolf’s report expressly listed Ms. Gallardo’s

         as one of the “other risk factors” Ms. Gallardo had. (2d Am. Rep. of Judith

Wolf Re: Anna Gallardo at 24, May 28, 2024 (Mot. Ex. 36).) But nowhere in Dr.

Wolf’s report does she purport to rule out                        as a risk factor. (See

id.)

        20.     Defs.’ Reply: Plaintiffs do not dispute that Ms. Gallardo testified that

she could only recall that she “would look at their ads, they would talk about it

being effective and safe. . . . I would occasionally look at the print on the back of

the bottle, yes.” (Dep. of Anna Gallardo 117:12-25, Jan. 12, 2021 (Mot. Ex. 22).)

Plaintiffs’ separate statement that Ms. Gallardo relied on defendants’ false

statements and omissions of warnings about the safety of Johnson’s Baby Powder

is improper legal argument. See L.Civ.R. 56.1(a).

   D.         Carter Judkins

        21.     Undisputed.

        22.     Undisputed.

        23.     Defs.’ Reply: Dr. Wolf stated explicitly that “                        ”

with                  would be a risk factor, while simultaneously claiming a third-

degree relative with                 would not. In any event, Dr. Wolf unequivocally




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                                                                               .”

(NewsomeT-WHSMR-00017 (Mot. Ex. 42).) As Dr. Saenz explained, these are

“classic findings for the                   caused by                 .” (Rep. of

Cheryl Saenz Re: Tamara Newsome at 4, May 28, 2024 (Davidson Decl. Ex. 9).)

        30.     Defs.’ Reply: There are multiple medical records reflecting that Ms.

Newsome had                      at the time of her diagnosis. (See, e.g., NewsomeT-

HCHMR-00277 (Davidson Decl. Ex. 10); NewsomeT-HCHMR-00156 (Davidson

Decl. Ex. 11).) And Ms. Newsome herself reported that she had                       in the

five years prior to her diagnosis. (See 8/27/21 Clarke-Pearson Dep. 607:15-608:5.)

Plaintiffs do not dispute that having                                     . Moreover,

plaintiffs do not dispute that Dr. Clarke-Pearson considers obesity to be a risk

factor for ovarian cancer generally. (8/26/21 Clarke-Pearson Dep. 165:6-166:7.)

        31.     Undisputed.

   F.         Pasqualina Rausa

        32.     Undisputed.

        33.     Undisputed.

        34.     Defs.’ Reply: Ms. Rausa clearly stated that she had                    in

1988, three decades before she was diagnosed with                     . (P. Rausa PPF

at 3 (Mot. Ex. 43).) There is no evidence that Ms. Rausa had her

              in 2010. Dr. Clarke-Pearson appears to have misread a clear-cut medical



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record which listed Ms. Rausa’s                      as occurring in 2010, not her

              . (See PRAUSAPL-000027 (Davidson Decl. Ex. 4).)

      35.    Unaddressed in Plaintiffs’ response.

      36.    Unaddressed in Plaintiffs’ response.

      37.    Defs.’ Reply: Plaintiffs do not dispute that the medical provider

examining Ms. Rausa “indicated that the appearance of her

                                  .” (8/27/21 Clarke-Pearson Dep. 665:21-666:17.)

Plaintiffs similarly do not dispute Ms. Rausa’s                       , as well as the

fact that some studies have shown douching increases the risk of ovarian cancer.

Instead, they confirm as much by pointing out that Dr. Clarke-Pearson stated

                                                          .” (Id. 675:1-9.) In fact, Dr.

Clarke-Pearson explicitly stated that he considered the fact that Ms. Rausa

to be a risk factor. (Id. 675:11-22.)

      38.    Defs.’ Reply: Plaintiffs do not dispute this fact. Instead, plaintiffs

offer a boilerplate denial that the fact lacks context and completeness without

citing any particular parts of the record. That is insufficient to create a dispute of

material fact. See Hughes v. Novo Nordisk, Inc., No. 20-4991 (RK) (DEA), 2024

WL 2131676, at *3 n.5 (D.N.J. May 13, 2024) (rejecting “blanket denial” as

inadequate to create genuine dispute of material fact) Fowler v. AT&T Servs., Inc.,

No. 18-667 (MAS) (LHG), 2020 WL 2839461, at *1 n.2 (D.N.J. May 31, 2020)



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(“Under the Local Civil Rules, it is not enough to merely state disagreement . . . . If

a party disputes a material fact without citation to supporting documents, the

material fact ‘shall be deemed undisputed for purposes of the summary judgment

motion.’”) (quoting L. Civ. R. 56.1), aff’d sub nom. Fowler v. AT&T, Inc., 19 F.4th

292 (3d Cir. 2021). Moreover, Dr. Clarke-Pearson, when asked if “age, talc,

        ,            and unknown factors all caused Ms. Rausa’s                    ,”

unequivocally testified that “[a]ll contributed to the outcome of                   ,

yes.” (8/27/21 Clarke-Pearson Dep. 675:17-22.)

        39.     Undisputed.

   G.         Relevant Statements by U.S. Government Agencies and Medical
              Organizations

        40.     Defs.’ Reply: Plaintiffs do not dispute these facts. Instead, plaintiffs

offer a boilerplate denial that the facts lack context and completeness without

citing any particular parts of the record. That is insufficient to create a genuine

dispute of material fact for the reasons discussed above.

        41.     Defs.’ Reply: Plaintiffs do not dispute these facts. Instead, plaintiffs

offer a boilerplate denial that the facts lack context and completeness without

citing any particular parts of the record. That is insufficient to create a genuine

dispute of material fact for the reasons discussed above.

        42.     Defs.’ Reply: Plaintiffs do not dispute these facts. Instead, plaintiffs

offer a boilerplate denial that the facts lack context and completeness without

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citing any particular parts of the record. That is insufficient to create a genuine

dispute of material fact for the reasons discussed above.

      43.    Defs.’ Reply: Plaintiffs do not dispute these facts. Instead, plaintiffs

offer a boilerplate denial that the facts lack context and completeness without

citing any particular parts of the record. That is insufficient to create a genuine

dispute of material fact for the reasons discussed above.

      44.    Defs.’ Reply: The Cancer Facts & Figures is an annual publication of

the American Cancer Society, Atlanta, Georgia. See Cancer Facts & Figures 2024,

at 87, American Cancer Society, https://www.cancer.org/content/dam/cancer-

org/research/cancer-facts-and-statistics/annual-cancer-facts-and-figures/2024/2024-

cancer-facts-and-figures-acs.pdf. The 2024 report unambiguously concluded that

“[t]he weight of the evidence does not support an association between ovarian

cancer and genital exposure to talc-based powder.” Id. at 23. Plaintiffs cannot

dispute any of this. Plaintiffs’ argument that it is not the “official” policy of ACS is

beside the point.

      45.    Defs.’ Reply: Plaintiffs do not dispute these facts. Instead, plaintiffs

offer a boilerplate denial that the facts lack context and completeness without

citing any particular parts of the record. That is insufficient to create a genuine

dispute of material fact for the reasons discussed above.




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      46.    Defs.’ Reply: Plaintiffs do not dispute these facts. Instead, plaintiffs

offer a boilerplate denial that the facts lack context and completeness without

citing any particular parts of the record. That is insufficient to create a genuine

dispute of material fact for the reasons discussed above.

      47.    Defs.’ Reply: Plaintiffs do not dispute these facts. Instead, plaintiffs

offer a boilerplate denial that the facts lack context and completeness without

citing any particular parts of the record. That is insufficient to create a genuine

dispute of material fact for the reasons discussed above.


Dated: October 16, 2024                  Respectfully submitted,

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